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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

STIMMA, et al.                                      Civil Action No. 3:18-cv-14318
                                                    (FLW)(LHG)
                      Plaintiffs,
v.                                              NOTICE OF MOTION FOR PRO HAC
                                                VICE ADMISSION OF COUNSEL
TORRENT PHARMA, INC., et al.                    Motion Return Date: December 3, 2018

                      Defendants.


       TO:     Counsel of Record


       PLEASE TAKE NOTICE that on December 3, 2018 at 9:00 a.m., or as soon thereafter

as counsel may be heard, the undersigned attorney for Defendant Torrent Pharma, Inc. shall

apply before the United States District Court for an Order pursuant to Local Rule 101.1(c)

granting Richard W. Smith, Esq. pro hac vice admission in the above-captioned matter.


       PLEASE TAKE FURTHER NOTICE the movant shall reply upon the annexed

certifications of Richard W. Smith, Esq. and Christina Saveriano, Esq. in support of this motion.

       PLEASE TAKE FURTHER NOTICE that a proposed form of Order is also submitted

herewith.
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                                         Respectfully submitted,

                                         By:___/s/ Christina Saveriano_____
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Dated: November 6, 2018
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                                  CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing

                            MOTION FOR PRO HAC ADMISSION

is to be electronically filed. Notice of this filing will be sent to all parties by operation of the
Court’s electronic filing system. Parties may access this filing through the Court’s system.




November 6, 2018______                                  __/s/Christina Saveriano_______________
Date                                                    Christina Saveriano
